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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                        :

     - v. -                                     :
                                                           23 Cr. 10 (AS)
AVRAHAM EISENBERG,                              :

          Defendant.                            :

---------------------------------x




              OPPOSITION OF THE UNITED STATES OF AMERICA TO
               THE MOTIONS IN LIMINE OF AVRAHAM EISENBERG




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                                PRELIMINARY STATEMENT

       The Government will prove that the defendant stole over $110 million worth of

cryptocurrency from the Mango Markets platform. He kept $40 million worth of his illegal

proceeds for himself and left the Mango DAO to pay its customers $40 million to make them

whole. The defendant’s victims included, at minimum, the Mango Markets customers who had

their cryptocurrency stolen, and the Mango DAO, which paid $40 million of its own funds.

Defendant’s motion in limine, Dkt. No. 76, attempts to impose an artificial and legally incorrect

limitation on the language that the Government may use to describe the defendant’s victims. This

motion should be denied. Defendant also foreshadows a future objection to the Government’s

experts to the extent they offer “duplicative” testimony. The Government’s experts, however, will

offer different opinions on different issues from different perspectives and will not offer needlessly

duplicative testimony. Accordingly, this motion will fail as well.

                                           ARGUMENT

I.     THE COURT SHOULD DENY THE DEFENDANT’S MOTION TO PRECLUDE
       THE GOVERNMENT’S USE OF ACCURATE STATEMENTS IN ITS JURY
       ADDRESSES

       The defendant fraudulently stole over $110 million worth of cryptocurrency off of the

Mango Markets platform. He did so through a cascade of lies and deceit. (See, e.g., Dkt. 77 at 2-

7.) And he did so at the expense of Mango Markets customers and the Mango DAO. Nonetheless,

the defendant moves to preclude the Government from using the term “victim” in its jury addresses

without “specifying who the alleged victims are in this case.” (Def. Mot. at 1.) The Court should

not impose this artificial and unnecessary limitation.

       As background, the defendant purported to “borrow” approximately $110 million worth of

different cryptocurrencies from other depositors on Mango Markets, which was effectively all of
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the funds on the platform. But the defendant did not “borrow” this cryptocurrency—he stole it

and drained the funds that were deposited by other Mango Markets customers. Then, the defendant

negotiated a deal with representatives of the Mango DAO so that he could—in his words—“[g]et[]

rid of sympathetic victims.” But the defendant agreed to return only a portion of what he stole—

keeping approximately $40 million in stolen cryptocurrency for himself and returning

approximately $67 million. The Mango DAO provided over $40 million worth of cryptocurrency

to cover the losses to Mango Markets customers. The Mango DAO has never been reimbursed for

those losses and some Mango Markets customers still have not been made whole. The victims of

the defendant’s crimes therefore included, at minimum, Mango Markets customers (including

those who were reimbursed) and the Mango DAO.

       Defendant’s motion is legally incorrect and factually unnecessary.          To start, courts

recognize that the Government must be permitted to describe the crime and communicate its theory

of the case to the jury: “[T]here is no basis to preclude the Government from using words that are

central to the case.” United States v. Ahmed, 94 F. Supp. 3d 394, 435–36 (E.D.N.Y. 2015). Far

from irrelevant, words that are used to describe offense conduct, like “victims,” are part of

narrating the crime to the jury. Indeed, the defendant’s own text messages described the users of

Mango Markets as “sympathetic victims,” presumably because in his mind the Mango DAO was

an unsympathetic victim. Given that the defendant used the term “victims” in text messages, the

Government should be allowed to do so before the jury.

       Although the defendant argues that the term “victims” would “substantially mislead and

confuse the jury about the requirements of the specific intent element for each of the charged

crimes,” Def. Mot. at 2, he ignores that this Court will instruct the jury on the Government’s burden

at trial. Indeed, courts have repeatedly acknowledged that the Government’s use of a term is not

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unfairly prejudicial when the jury is instructed about the Government’s burden of proof. See, e.g.,

United States v. Edwards, No. CR 16-103-BLG-SPW-1, 2017 WL 4159365, at *1 (D. Mont. Sept.

19, 2017) (explaining that “use of the term ‘victim’ is not prejudicial to the defendant’s rights

when the presentation of evidence taken as a whole clarifies the government’s burden of proving

all of the elements of the crime” and finding that the “jury will not be unduly prejudiced against

[the defendant] if the government refers to certain witnesses as victims” (citing United States v.

Washburn, 444 F.3d 1007, 1013 (8th Cir. 2006) (“[A] number of courts have determined that the

use of the term ‘victim’ in jury instructions is not prejudicial to a defendant’s rights when, as is

the case here, the instructions taken as a whole clarify the government’s burden of proving all

elements of the crime”))); Server v. Mizell, 902 F.2d 611, 615 (7th Cir. 1990) (“No logical

argument can be made that the mere use of the term ‘victim’ [in jury instructions] somehow shifted

the burden of proof.”). Moreover, “[t]he term ‘victim’ is not inherently prejudicial. It is a term

commonly used in the English language that does not by its nature connote guilt.” United States

v. Lussier, No. 18-CR-281 (NEB), 2019 WL 2489906, at *5 (D. Minn. June 15, 2019). To the

extent that the defendant disagrees with the Government’s use of the term “victim” at trial, he may

point that out to the jury. Accordingly, there is no risk of jury confusion.

       Of course, the Government does not anticipate indiscriminately using the term “victim” in

its jury addresses without context or explanation. Lack of clarity does not benefit the Government,

given the burden of proof, and the Government expects that it will inform the jury that Mango

Markets customers (including those whose money was eventually returned), and the Mango DAO,

were victims of the defendant’s crime. But the Court should not, in the abstract and prior to any

presentation to the jury, cabin the precise way that the Government uses the term “victim” before



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the jury: to the extent the Government does it imprecisely, defense will be more than able to point

that out in its summation.

       Most concerningly, the defense’s effort to police the Government’s use of the term

“victim” appears to rely on a legally incorrect understanding of the term. The defense claims that,

“[g]iven the requirement that the government prove a deception, it naturally follows that the

government must explain to the jury who was deceived.” Def. Mot. at 3. This view—that the

“victim” must be the person or entity that was deceived—is one that the Second Circuit has

rejected. The Circuit has made clear that wire fraud does not require that the defendant make

misrepresentations directly to any victim: “[W]ire fraud does not require convergence between

the parties intended to be deceived and those whose property is sought in a fraudulent scheme.”

United States v. Greenberg, 835 F.3d 295, 306-07 (2d Cir. 2016). Accordingly, the Court should

not impose a technical and artificial restriction on the Government’s use of the word “victim” that

does not align with controlling law in this Circuit.

       In the same way, Mango Markets customers are victims of the defendant’s crimes even

though the defendant returned some of the stolen funds. This is because the Second Circuit has

held that “the Government need not prove ‘that the victims of the fraud were actually injured,’ but

only ‘that defendants contemplated some actual harm or injury to their victims.’” Greenberg, 835

F.3d at 305-306 (quoting United States v. Novak, 443 F.3d 150, 156 (2d Cir. 2006)). Courts have

recognized that a defendant’s repayment of victims does not impact this analysis: “The offense

occurred and was complete when the misapplication took place. What might have later happened

as to repayment is not material and could not be a defense.” United States v. Sindona, 636 F.2d

792, 800-801 (2d Cir. 1980 (quoting United States v. Acree, 466 F.2d 1114, 1118 (10th Cir. 1972));

see, e.g., United States v. Bankman-Fried, No. 22-cr-673 (LAK), 2023 WL 4194773, at *9

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(S.D.N.Y. June 27, 2023) (“[I]t is immaterial as a matter of law whether the defendant intended to

repay the misappropriated funds because the offense is ‘complete’ where, as alleged here, there is

an ‘immediate intent to misapply and defraud.’”). Accordingly, Mango Markets customers, even

those who received their money back, are victims of the defendant’s crime.

       In short, the defendant’s motion is an attempt to sanitize the evidence by preventing the

Government from describing it.       Courts routinely reject such an artificial and unnecessary

restriction, and it should not be imposed here.

II.    THE GOVERNMENT WILL NOT INTRODUCE NEEDLESSLY CUMULATIVE
       EVIDENCE

       The defendant next preserves his right to object to certain of the Government’s expert

testimony as unnecessarily duplicative at trial. (Def. Mot. at 5.) The Government does not intend

to offer unnecessarily duplicative expert testimony. Instead, the Government noticed two experts

that will offer different opinions on different issues. (See Exhibit A (Expert Notices).)

       One expert, a former fund manager who modeled, traded, and risk managed a $20 billion

notional portfolio, will offer opinions about, among other things, the economic features of USD

Coin (“USDC”), the financial products, trading tools, borrowing and lending functions, and

investing options on Mango Markets, and the existence of futures contracts and other derivatives

based on USDC. The second expert, co-founder of Risk Economics and an Adjunct Professor of

Econometrics and Statistics at the University Chicago Booth School of Business, will offer

opinions about, among other things, the size, structure and economics of the defendant’s long and

short perpetual positions, the economic implications of those positions, the historical trading

patterns and prices and corresponding observed volume of orders for MNGO-USDC perpetuals on




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Mango Markets, and the value of MNGO to USDC, the defendant’s trading, the defendant’s

borrowing, and the defendant’s liquidation of one of the defendant’s Mango Markets accounts.

       Accordingly, these experts will not offer “identical conclusions on identical issues,” as the

defendant suggests. United Sates v. Walker, 910 F. Supp. 861 (N.D.N.Y. 1995). To be sure, the

experts will provide background testimony necessary to allow the jury to understand their

opinions. And this background information may overlap as each expert sets the stage for their

opinions. But, far from needless, that is to be expected, and it is necessary to allow the jury to

understand the experts’ opinions and to weigh the experts’ credibility. See, e.g., Rodriguez v. Cnty.

of Stanislaus, No. 1:08-CV-00856 OWW, 2010 WL 2720940, at *2 (E.D. Cal. July 8, 2010) (“The

reports vary in conclusions, and while some overlap is certainly present, overlap is an insufficient

basis upon which to impose the extraordinary remedy Defendants seek.”). Moreover, courts have

recognized that “[t]estimony on the same topic by different experts, however, is not needlessly

cumulative where the experts will testify from different professional perspectives.”          Royal

Bahamian Ass’n, Inc. v. QBE Ins. Corp., No. 10-21511, 2010 WL 4225947, at *2 (S.D. Fl. Oct.

21, 2010). Here, the two experts will provide different opinions on distinct issues from distinct

perspectives—there will not be needlessly cumulative evidence. See Fed. R. Evid. 403. In any

event, nothing prevents the defense from making a contemporaneous objection to the offer of

particular testimony or evidence that may be excludable under the Rules of Evidence.




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                                       CONCLUSION

       For the reasons set forth above, the Government respectfully requests that the Court deny

the defendant’s motions in limine.

                                            Respectfully submitted,

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                                     By:    /s/
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